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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    LINDA HARTER, #179741
     Chief Assistant for the Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700 Fax: 916-498-5710
5    Attorneys for Defendant
     GILBERT YADON
6
7
8                              IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                   )   Case No. 2:15-MJ-00042-AC
                                                 )
12           Plaintiff,                          )   STIPULATION AND [PROPOSED] ORDER
                                                 )   TO CONTINUE COURT TRIAL AND SET
13                        v.                     )   FOR A STATUS CONFERENCE
                                                 )
14   GILBERT YADON,                              )   Date: June 15, 2014
                                                 )   Time: 9:00 a.m.
15           Defendant.                          )   Judge: Hon. Allison Claire
                                                 )
16                                               )
17
18            IT IS HEREBY STIPULATED between the parties through their respective counsel,
19   JASON LEONG, Special Assistant United States Attorney, and LINDA C. HARTER, Chief
20   Assistant Federal Defender, attorney for GILBERT YADON, that the Court vacate the court trial
21   on May 18, 2015 at 9:00a.m. and set a status conference on June 15, 2015 at 9:00 a.m.
22            The reason for this continuance is that Mr. Yadon recently had some sort of
23   seizure/stroke that resulted in hospitalization.    Additional time is needed to for Mr. Yadon to
24   deal with his health issues.
25   ///
26   ///
27   ///
28   ///
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        Case 2:15-mj-00042-AC Document 7 Filed 05/11/15 Page 2 of 2


1
     DATED: May 8, 2015                         Respectfully submitted,
2
3                                               HEATHER WILLIAMS
                                                Federal Defender
4                                               /s/Linda Harter
                                                LINDA HARTER
5                                               Chief Assistant to the Federal Defender
                                                Attorneys for Defendant
6                                               GILBERT YADON
7
8    Dated: May 8, 2015                         BENJAMIN B. WAGNER
                                                United States Attorney
9
10
                                                /s/ Jason Leong
11                                              JASON LEONG
                                                Special Assistant United States Attorney
12
13                                     ORDER
14   IT IS SO ORDERED.
15
16   Dated: May 8, 2015
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